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                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                MIDDLE DIVISION


BALBIR SINGH                                     }
                                                 }
       Petitioner,                               }
                                                 }
v.                                               }    Case No.: 4:17-cv-01793-RDP-JHE
                                                 }
JEFF SESSIONS, et al.,                           }
                                                 }
       Respondents.                              }


                                            ORDER

       On December 4, 2017, the Government filed a response to the court’s Show Cause Order

(Doc. # 3), seeking dismissal of Petitioner’s 28 U.S.C. § 2241 petition. (Doc. # 6). The purpose

of this Order is to notify Petitioner that his petition will be treated by the court as ripe for

summary dismissal and that petitioner has a right to file affidavits and other materials to show

why the petition should not be summarily denied or dismissed on the basis of the Government’s

response.

       To the extent the Government seeks summary dismissal of the petition, Petitioner may

respond with counter-affidavits or documents to set forth specific facts showing that there is a

genuine issue of material fact to be decided. Petitioner may not rely on mere allegations in his

pleadings to counter the Government’s response. If Petitioner does not provide the court with

counter-affidavits or documents showing a genuine issue of material fact, the court may declare

that the facts in the affidavit provided by the Government (Doc. # 7-1) are established as true and

there is no genuine issue of material fact in dispute. In that event, if applicable law allows, the
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Government will be entitled to a judgment entered in its favor. The granting of summary

dismissal is a final adjudication with prejudice on the merits.

       Petitioner shall have twenty-one (21) days from the date of this Order to respond and

supply any additional evidentiary materials or legal arguments he may wish to offer regarding

whether his petition is subject to summary dismissal. Thereafter, the petition will be taken under

advisement by the court.

       The Clerk of Court is DIRECTED to send a copy of this Order to Petitioner at his

address of record.

       DONE and ORDERED this December 6, 2017.



                                              _________________________________
                                              R. DAVID PROCTOR
                                              UNITED STATES DISTRICT JUDGE




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